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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NUMBER: 25-CR-20035

  UNITED STATES OF AMERICA

  v.

  LUCAS SEDENO RODRIGUEZ et al.,

              Defendant.
  ___________________________________/

                    RESPONSE TO MOTION TO PRESERVE EVIDENCE

         The United States files this response to Keiner Cicilia Rodriguez’s Motion to Preserve

  Evidence. The undersigned has had the opportunity to confer with Mr. Cicilia Rodriguez’s counsel.

  Mr. Cicilia Rodriguez’s Amended Motion to Preserve Evidence and Schedule Depositions (ECF

  No. 33) accurately reflects the United States’ position.



                                                Respectfully submitted,

                                                HAYDEN O’BYRNE
                                                United States Attorney


                                                /s/ Andres E. Chinchilla
                                                Andres E. Chinchilla
                                                Assistant United States Attorney
                                                U.S. Attorney’s Office, Southern District of Florida
                                                99 NE 4th ST
                                                Miami, FL 33132
                                                (305) 961-9102
                                                andres.chinchilla2@usdoj.gov
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 10th day of February 2025, the above Response to Motion to

  Preserve Evidence was electronically filed with the Clerk of Court using CM/ECF system which

  will automatically send email notification to counsel of record.



                                               /s/ Andres E. Chinchilla
                                               Andres E. Chinchilla
                                               Assistant United States Attorney
